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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE



IN RE: SENSIPAR (CINACALCET                     C.A. No. 19-md-02895-LPS
HYDROCHLORIDE TABLETS)
ANTITRUST LITIGATION


THIS DOCUMENT RELATES TO:                       C.A. No. 19-396-LPS

ALL DIRECT PURCHASER ACTIONS                    C.A. No. 19-1460-LPS

ALL INDIRECT PURCHASER ACTIONS                  C.A. No. 19-369-LPS

                                                C.A. No. 19-1461-LPS

                                                REDACTED -
                                                PUBLIC VERSION


         PURCHASER PLAINTIFFS’ OMNIBUS RESPONSE IN OPPOSITION
                 TO DEFENDANTS’ MOTIONS TO DISMISS




 CHIMICLES SCHWARTZ KRINER                   THE BIFFERATO FIRM, P.A.
  & DONALDSON-SMITH LLP                      Ian Connor Bifferato (Del. Bar No. 3273)
 Robert J. Kriner, Jr. (Del. Bar No. 2546)   1007 N. Orange Street, 4th Floor
 Scott M. Tucker (Del. Bar No. 4925)         Wilmington, DE 19801
 Tiffany J. Cramer (Del. Bar No. 4998)       Tel.: (302) 225-7600
 2711 Centerville Road Suite 201             cbifferato@tbf.legal
 Wilmington, DE 19808
 Tel: (302) 656-2500
 rjk@chimicles.com
 smt@chimicles.com
 tjc@chimicles.com




Dated: April 27, 2021
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                 I.      NATURE AND STAGE OF THE PROCEEDINGS

       These consolidated civil antitrust class actions are brought on behalf of direct purchaser

and indirect purchaser (end-payor) classes1 seeking damages arising out of (a) an unlawful

monopolistic scheme by Amgen to impair generic competition and thereby maintain supra-

competitive pricing of branded and generic cinacalcet hydrochloride tablets (brand named,

Sensipar®) and (b) an unlawful agreement in restraint of trade by Amgen and Teva that further

impaired generic competition and effectuated supra-competitive pricing in the market for

cinacalcet hydrochloride tablets.

       Last November, this Court sustained in part and overruled in part (D.I. 177)2 Magistrate

Judge Hall’s Report and Recommendation (D.I. 157) on defendants Amgen’s and Teva’s3

motions to dismiss these consolidated direct purchaser and end-payor class actions. The Court

found that the class plaintiffs sufficiently alleged that Amgen and Teva entered into an

agreement containing an unlawful reverse payment in violation Section 1 of the Sherman Act.4

Under that agreement, Teva agreed to exit the Sensipar market only days after it had launched

significant generic product into the marketplace and to stay out until mid-2021. In exchange,

Amgen made a large and unjustified payment to Teva in the form of (a) waiving objection to



   1
      The direct purchaser class plaintiffs are César Castillo, LLC and KPH Healthcare Services,
Inc. a/k/a Kinney Drugs, Inc., on behalf of themselves and all others similarly situated. The end-
payor class plaintiffs are UFCW Local Welfare Fund, Teamsters Local 237 Welfare Fund,
Teamsters Local 237 Retirees’ Benefit Fund, and Teamsters Western Region & Local 177 Health
Care Plan, on behalf of themselves and all others similarly situated. Collectively, the direct
purchaser and end-payor class plaintiffs are referred to herein as the “class plaintiffs.”
    2
      Unless otherwise noted, “D.I.” references are to those entered in In re Sensipar (Cinacalcet
Hydrochloride Tablets) Antitrust Litig., 19-md-02895-LPS (D. Del.).
    3
      “Amgen” refers to Amgen Inc. “Teva” refers collectively to Teva Pharmaceuticals USA,
Inc., Watson Laboratories, Inc., and Actavis Pharma, Inc.
    4
      The Court held that the alleged unlawful reverse payment is governed by the rule of reason
under the Supreme Court’s decision in FTC v. Actavis, Inc., 570 U.S. 136 (2013). D.I. 177 at 7-8.




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Teva’s retention of more than $350 million in revenues from Teva’s at-risk launch and (b) an

“acceleration” clause to Teva, permitting it “to reenter the market with its ANDA product earlier

than the otherwise agreed-to reentry date upon market entry by another generic competitor.” D.I.

177 at 9-12. The Court also found that the class plaintiffs sufficiently alleged that Amgen

secured Teva’s exit from the market until mid-2021 “for the purpose and effect of raising and

maintaining the supra-competitive prices Plaintiffs would have to pay for Sensipar” in violation

of Section 2 of the Sherman Act. D.I. 177 at 12.

       The Court dismissed, without prejudice, the class plaintiffs’ theory that Amgen’s use of

“acceleration” clauses in its agreements with more than a dozen other generic Sensipar ANDA

filers—including Teva—constituted an unlawful market allocation. According to the Court, the

“market allocation theory as pled contain[ed] insufficient specificity to survive the motions to

dismiss.”5 In particular, the Court found it implausible that the Amgen-Teva agreement’s

acceleration clause actually delayed other generic Sensipar manufacturers from coming to

market because several did, in fact, later launch, and because ANDA filers “understand the

nature of competition in the pharmaceutical marketplace.” D.I. 177 at 15-16.

       As permitted by the Court, the class plaintiffs filed their respective amended complaints

on February 23, 2021,6 adding specificity to their overarching scheme and market allocation

allegations and clarifying that it was the post-hoc delay to other generics’ launches (not failure to


   5
      D.I. 177 at 14-15 (emphases in original). Amgen argues that the plaintiffs were not granted
leave to replead their monopolization claims based on the acceleration clauses. D.I. 212
(“Amgen Br.”) at 18. But the Court’s dismissal was without prejudice; by definition, the order
does not preclude re-pleading. And the Court’s statement that “as pled” the market allocation
theory needed more specificity to survive a motion to dismiss, indicates that revision of the
allegations might satisfy the Court’s reservations, which we have now attempted to do.
    6
      See Second Amended Consolidated Direct Purchaser Class Action Complaint (“DPC”), D.I.
197; Indirect Purchaser Plaintiffs’ Second Amended Consolidated Class Action Complaint
(“EPC.”), D.I. 202. The plaintiffs principally reference the DPC herein. Attached as Exhibit 1 is
a table that includes additional, comparable EPC references.


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 launch) that impaired competition and injured the plaintiffs.7 The defendants have moved to

 dismiss under Rule 12(b)(6). Again, we oppose.8

                              II.     SUMMARY OF ARGUMENT

        The plaintiffs allege (a) an overarching monopolistic scheme by Amgen in violation of

 Section 2 of the Sherman Act and corresponding state laws, and (b) an unlawful agreement in

 restraint of trade by Amgen and Teva in violation of Section 1 of the Sherman Act and

 corresponding state laws. The motions to dismiss should be denied in full for the following

 reasons:

        1.      The plaintiffs plausibly allege an overarching anticompetitive scheme by Amgen

 to delay competition in the cinacalcet market, in violation of Sherman Act § 2. Viewed

 holistically, as is required, the scheme was designed to and did impair generic competition for

 over a year, resulting in hundreds of millions of dollars in overcharges to the plaintiffs.

        2.      The plaintiffs plausibly allege that Amgen and Teva entered into an agreement

 that unreasonably restrained trade in violation of Section 1 of the Sherman Act, as the Court

 previously held. This agreement gives rise to claims under two theories of liability: (a) unlawful

 allocation of the cinacalcet market and (b) an unlawful reverse payment under the Supreme

 Court’s decision in F.T.C. v. Actavis, Inc., 570 U.S. 136, 145 (2013).

        3.      The plaintiffs have Article III and antitrust standing to assert these Sherman Act

 claims against Teva (Amgen does not challenge standing). The plaintiffs allege they were injured

 by paying and/or reimbursing more for branded and generic Sensipar than they would have

 absent the overarching scheme and the Amgen-Teva agreement. No more is required.




    7
      The direct purchaser plaintiffs also added a claim against Amgen under Section 2 of the
 Sherman Act for attempted monopolization.
    8
      The end-payors respond separately to Amgen’s motion directed to the EPC, D.I. 209, 210.


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                                III.    STATEMENT OF FACTS

        The economic landscape of brand and generic drugs.

        Before generic entry, brand drug manufacturers enjoy monopoly-level pricing and profits

 for their drugs. DPC ¶ 31. When the first generic competitor enters its prices are typically 10-

 20% lower than the brand’s, and the discount increases dramatically as more generics enter the

 market, often by 80% or more. DPC ¶ 44. These dynamics encourage generics to come to market

 as soon as possible, as the first to launch a generic product stands to make the most money. In a

 genericized market, purchasers pay lower prices. DPC ¶¶ 44-52.

        Amgen’s billion-dollar Sensipar franchise and its generic challengers.

        Amgen has sold cinacalcet under the brand name “Sensipar” since the drug received FDA

 approval in 2004. DPC ¶¶ 71-72. Sensipar was very profitable and by 2015 had revenues over $1

 billion per year. DPC ¶ 85.

        By the summer of 2017, market conditions created the real prospect of a race by some

 generic makers to be first to market generic Sensipar as early as the spring of 2018. Amgen’s

 primary Sensipar patent (the ’068 patent) would expire March 8, 2018; Amgen’s remaining

 relevant patent (the ’405 patent) only claimed a highly specific way to formulate a cinacalcet

 product.9 DPC ¶¶ 77-82. By mid-2017, more than 20 generic companies had submitted ANDAs

 seeking to market generic Sensipar before the ’405 patent expired, each certifying that the ’405

 patent was invalid as obvious, unenforceable, or not infringed by their proposed generics. DPC




    9
       The ’405 patent can be “designed around” since generic competitors can make a
 bioequivalent product without infringing the patent. While Amgen had one other patent—the
 ’595 patent (a formulation patent reciting claims that were similar to, but even narrower than, the
 ’405 patent’s claims), Amgen has never asserted the ’595 patent. DPC ¶ 75-76. The ’595 patent
 is therefore irrelevant.


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 ¶¶ 84, 86-87.10 While the ANDA filers were differently situated (depending on the extent to

 which each had done the work to design around the ’405 patent), some had clearly avoided

 infringement of the ’405 patent in the design of their product. DPC ¶¶ 54, 163. No generic maker

 had a right the 180-day exclusivity;11 as a result, any company could launch upon FDA final

 approval and those with non-infringing formulations would face little at-risk exposure. DPC ¶

 84. FDA had already begun, in October 2015, tentatively approving Sensipar ANDAs. DPC ¶¶

 95-98.12

         In sum, Amgen faced a generic field where some patent challengers were in a race to be

 first to market generic cinacalcet following the March 2018 expiry of the ’068 patent. Doing so,

 and being alone in the market for even a short time, would reward the non-infringing generic

 company with a period of lucrative de facto generic exclusivity. Other non-infringing companies

 would also seek final FDA approval and entry as soon as practicable thereafter. The market for

 Sensipar and its generic equivalents would become fully genericized in 2018. Amgen would lose

 its billion dollar a year franchise. DPC ¶ 36.

         Amgen sued and then settled with more than a dozen generic Sensipar ANDA filers,
         inserting into each settlement agreement “acceleration” and “grace” provisions.

         In response, Amgen sought to arrest generic competition by removing the possibility for

 that de facto exclusivity by disincentivizing the well-positioned generics from mounting




    10
        In September-October 2016, Amgen filed 14 Hatch-Waxman lawsuits alleging
 infringement of the ’405 patent by generic company defendants. DPC ¶ 89. In June 2017, Amgen
 filed four more. DPC ¶ 93.
     11
        Amgen prevailed in a 2009 challenge to the '068 patent's validity, which stripped any
 ANDA filer of first-to-file exclusivity.
     12
        The FDA grants tentative approval to an ANDA if the ANDA is ready for approval before
 the expiration of any patents or exclusivities accorded to the reference listed (brand) drug
 product. The FDA delays final approval of the generic product until all patent or exclusivities
 issues have been resolved. A tentative approval does not allow the applicant to market the
 generic drug. https://www.fda.gov/drugs/drug-approvals-and-databases/drugsfda-glossary-terms.


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 vigorous challenges to the ’405 patent or launching at risk13 So, Amgen designed a scheme to

 disincentivize the bona fide Sensipar challengers from seeking de facto exclusivity. Amgen did

 so through what it now calls its patent “settlement strategy.” Amgen Br. at 11.

         In the fall of 2017—and with expiration of the ’068 patent only months away and three

 ANDAs already tentatively approved by the FDA—Amgen implemented a patent settlement

 strategy that was designed to reduce, and had the effect of reducing, market incentives for an

 early generic launch. DPC ¶¶ 99-100.

         Amgen first settled with those generic companies whose patent challenges had the lowest

 chances of succeeding. Although in this first wave Amgen settled with the weakest ANDA filers

 (i.e., those who posed no credible threat to Amgen’s patent or of launching at risk), Amgen

 insisted that the agreements include a right that these generics could advance their market entry

 right upon entry by another company’s at-risk entry. DPC ¶¶ 5, 100, 143.14 The use of the

 ostensible “acceleration” clause would threaten to reduce or eliminate the benefits of a generic

 seeking early, de facto exclusivity. Amgen then used the first wave settlements as leverage

 against another group of patent challengers with which it settled in the next wave. DPC ¶ 151.15

 Amgen repeated the pattern with a third16 and finally a fourth wave of generic rivals.17


    13
        Fiona Scott Morton, Entry Decisions in the Generic Pharmaceutical Industry, RAND
 Journal of Economics 30(3), 421, 422 (Autumn 1999) (“The generic pharmaceutical entry
 decision is complex because evidence suggests that payoffs depend on the number of firms in a
 market, which affects the margin and quantity per firm. The profits of an entrant therefore
 depend on others’ entry decisions.”). Thus each potential competitor’s decision to enter or not
 enter (i.e., compete or not compete) would be, and was, based in substantial part on competitive
 intelligence and calculations regarding what was in other potential competitors’ interests and
 what others would do.
     14
        The first wave of settlements included those with Breckenridge, Hetero, Sun, and Ajanta.
 DPC ¶¶ 109-117.
     15
        The second wave settlements were with Cipla and Mylan. DPC ¶¶ 124-127.
     16
        The third wave settlements were with Dr. Reddy’s and Strides. DPC ¶¶ 135-136.
     17
        The fourth wave settlements were with Aurobindo, Alkem, Emcure, Lupin, Macleods,
 Torrent, and Unichem. DPC ¶¶ 139-146.


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        In each agreement, Amgen drafted largely identical terms, including the “acceleration”

 and “grace period” clauses. DPC ¶¶ 5, 8, 143. The only material term that varied was the agreed-

 upon date of the various generics’ market entry. DPC ¶ 11. The entry terms for the later waves

 were as follows: the second wave companies would be permitted to launch three months before

 the ’405 patent expired. DPC ¶¶ 125, 127. The third wave, those with much stronger-positioned

 generics, would be able to launch four years before the ’405 patent expired. DPC ¶¶ 135-36. And

 the strongest generics, those in the last wave, would be permitted to launch in June 2021, five

 years before the ’405 patent’s expiry. DPC ¶¶ 139-42, 144-46.

        At Amgen’s insistence, each agreement included a poison pill “acceleration” clause,

 which permitted the settling generic to come to market should another generic launch at risk—

 but also included a 10-day “grace period” in which Amgen could either move to enjoin or cut a

 quick deal with the at-risk launcher. DPC ¶¶ 5-10, 61, 100-03, 143. If Amgen did neither, the

 settling generics would be permitted to launch upon expiration of the grace period. DPC ¶ 103.

 These provisions served as powerful disincentives to any other generic considering an early at-

 risk launch because the resulting avalanche of accelerated launches would prevent any one

 company from enjoying a dominant market position or the resulting supra-competitive profits.

 DPC ¶¶ 59-60, 92-93, 102, 107, 150-51, 157, 160, 202, 206, 283-84. Thus, the provisions

 ensured that if any generic launched at risk and was still on the market 10 days later, all the other

 approved generics could launch without penalty, which would effectively splinter the market and

 cause a precipitous drop in all manufacturers’ prices. DPC ¶¶ 59-60, 107, 151, 160. To induce

 any at-risk launcher to stop selling its generic product during the “grace period,” Amgen would

 split its profits with that company. DPC ¶¶ 10, 12, 108. The practical effect of the agreements,

 and importantly the relationships between the agreements, was that each settling defendant

 would stay out of the cinacalcet market for an extended period. DPC ¶ 159.



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         On March 8, 2018, the day that the primary patent expired, the FDA gave final approval

 to Cipla’s and Aurobindo’s ANDAs. DPC ¶¶ 137-38. But for Amgen’s anticompetitive scheme,

 they both would have launched immediately. DPC ¶ 178.

         Teva won a non-infringement judgment and received final approval from the FDA,
         then launched its generic Sensipar product at risk.

         Some ANDA filers did not settle. In July 2018, following a bench trial, Judge Goldberg

 ruled that the Teva/Watson ANDA product,18 as well as those of Amneal and Piramal, did not

 infringe the ’405 patent. DPC ¶ 168.19 A few weeks later, the court entered final judgment of

 non-infringement for all three. DPC ¶ 174. Amgen appealed to the Federal Circuit. DPC ¶ 177.20

         On December 27, 2018, the FDA gave final approval to Teva’s ANDA. DPC ¶ 183. Teva

 launched the next day. DPC ¶ 184. In late December 2018, Teva dumped a huge quantity of

 cinacalcet into the market in a matter of days, generating over $393 million in revenues. DPC ¶¶

 184, 187. Amgen had previously advised the patent court that it expected to lose up to        of its

 market share in the first month of generic competition. DPC ¶ 188.21 Amgen in fact lost millions

 in sales of brand Sensipar to competition from Teva’s generic. Id.

         Within days, Amgen and Teva came to an agreement that removed Teva from the
         market, allowed Teva to keep hundreds of millions from its days-long launch, and
         settled what was left of the infringement litigation.

         As Amgen and Teva both expected and intended, the two came quickly to the table to

 take advantage of the “grace” periods in the earlier settlements and make a deal that would

 prevent other generics from launching under their respective “acceleration” provisions. DPC ¶



    18
        Watson filed its ANDA, No. 204377, in 2008. Watson was subsequently acquired by Teva.
 The owner of ANDA 204377 is referred to as “Teva” in the remainder of this brief.
     19
        Amgen Inc. v. Amneal Pharm., LLC, 328 F. Supp. 3d 373, 386, 391, 396 (D. Del. 2018).
     20
        See Amgen Inc. v. Amneal Pharm., LLC, Nos. 2018-2414, 2019-1086 (Fed. Cir.).
     21
        See also DPC ¶ 259 (quoting declaration of Christos Georghiou, submitted by Amgen in
 the Cipla preliminary injunction proceeding).


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 198. On January 2, 2019, a week after Teva’s launch, Amgen and Teva inked an agreement

 intended to avoid triggering the “acceleration” clauses and avoid full generic competition. DPC

 ¶¶ 189-91. Under its terms, Teva could leave all its generic product in the field, and Teva’s

 customers could continue to resell Teva’s product. DPC ¶ 190. Teva agreed to not directly sell

 any more generic Sensipar until mid-2021, allocating its share of the market back to Amgen.

 DPC ¶ 190. For its part, Amgen agreed that Teva could keep 90% of the nearly $400 million it

 made from its brief launch and agreed to an “acceleration” provision permitting Teva to re-enter

 if another generic company launched at risk. DPC ¶¶ 187, 190, 312.

         By allowing Teva’s product to remain in the market and ceding to Teva the enormous

 profits Teva realized from its limited launch, Amgen and Teva allocated the cinacalcet market.

 DPC ¶ 191. Amgen and Teva also agreed to seek the district court’s approval of a consent

 judgment stating that Teva had in fact infringed the ’405 patent—directly contradicting the non-

 infringement ruling Teva had previously won.22 DPC ¶¶ 192-93. The court denied the motion,

 noting that the request was “solely based on [the defendants’] settlement agreement” and that

 there was “no other basis whatsoever which would amount to exceptional circumstances

 permitting . . . vacatur.” DPC ¶ 196.23

         Teva immediately ceased directly selling its generic product; it agreed to pay Amgen up

 to $40 million, a small fraction of the hundreds of millions Teva made launching at risk and a

 small fraction of its potential liability; and Teva was not required to remove any of its product




    22
        If upheld on appeal, the non-infringement decision would have been worth far more than
 $393 million to Teva. “A patentee may recover lost profits caused by a defendant’s
 infringement.” W.L. Gore & Assocs., Inc. v. C.R. Bard, Inc., 198 F. Supp. 3d 366, 374 (D. Del.
 2016). Amgen’s lost profits well exceeded Teva’s revenue from its less expensive product.
     23
        Amgen Inc. v. Amneal Pharm., LLC, No. 16-cv-853, D.I. 439 (D. Del. Mar. 26, 2019).


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 from the market, keeping revenues of more than $350 million. DPC ¶¶ 190-97. During the Cipla

 litigation, Teva’s former VP of Sales described the agreement as follows:




                                  24



         Other generics, tied up in legal battles over whether they too could enter or waiting
         on those results, did not launch until months after the Amgen-Teva agreement.

         Because the deal was done within the time prescribed by the “grace” provisions

 following Teva’s launch, Amgen argued that the “acceleration” clauses were not triggered and

 Teva’s limited quantity product remained the only competitor to brand Sensipar in the following

 months. DPC ¶¶ 184, 190. The Amgen-Teva agreement enabled Amgen to drag out arguments

 with other generics about their ability under the “acceleration” clauses to exercise those rights.

         The Amgen-Teva agreement thus extended the delay to generic competition already

 achieved by means of the “acceleration” clauses and their strategic implementation. DPC ¶ 209.

 Days after Amgen and Teva finalized their agreement, Cipla sued Amgen (and later Teva)

 seeking a declaratory judgment that, under Cipla’s settlement with Amgen, Cipla could now

 come to market with its own generic version of Sensipar. DPC ¶ 210. Cipla’s suit also claimed

 violations of antitrust law and patent misuse, alleging that “[b]y entering into the Amgen-Teva

 Agreement, Amgen misused the ’405 Patent to exclude competition in the sale of pharmaceutical

 products that did not embody the claimed invention of the ’405 Patent.” DPC ¶¶ 210-11, 213.



    24
     EPC ¶ 188 (Decl. of Robert G. Cunard at 5, Cipla Ltd. v. Amgen, Inc., No. 19-cv-44 (LPS),
 ECF No. 75, ¶ 20 (D. Del. Feb. 25, 2019)).


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 Mylan, another generic that Amgen had previously settled with (and whose settlement agreement

 also included acceleration clause and grace period), notified the Cipla court that Mylan had also

 “suffered injury as a result of conduct by Amgen.” DPC ¶ 212.

         Cipla and Piramal (with its partner, Slate Run) did not launch their cinacalcet products

 until March 6, 2019. DPC ¶ 214. Amgen moved to enjoin the launches;25 Cipla opposed, noting

 its “unique” opportunity to seize a major part of the cinacalcet market. DPC ¶¶ 216-18. Cipla

 subsequently confirmed that “although Cipla is on the market . . . Cipla is not selling in anything

 like the volume it would sell if it did not have this threat hanging over it”—i.e., the threat of

 Amgen seeking damages based on its position that the “acceleration” clause had not been

 triggered. DPC ¶ 220. Generic competition was not merely delayed, it was also impaired.

         On May 2, 2019, the Court denied Amgen’s request for a preliminary injunction against

 Cipla based on ambiguity in the Cipla-Amgen settlement with respect to whether Teva’s indirect

 sales of generic cinacalcet triggered Cipla’s acceleration clause. DPC ¶ 223.26 The Court

 observed that any money Teva paid back to Amgen was “depend[ent] (in part) on how long the

 cinacalcet market remains free of non-Amgen and non-Teva generic products.” DPC ¶¶ 223,

 224.27 The next day, at least one generic manufacturer notified Amgen of its intent to launch at

 risk given the Court’s ruling. DPC ¶ 227. Mylan launched in late May 2019 (DPC ¶ 228), joined


    25
        On March 19, 2019, Amgen filed an emergency motion for an injunction pending Amgen’s
 Federal Circuit appeal. On April 15, 2019, Piramal and Amgen stipulated to an injunction
 pending the appeal, with Amgen agreeing to post an appeal bond of nearly $40 million. DPC ¶¶
 217, 222. After the Federal Circuit upheld Judge Goldberg’s non-infringement ruling as to
 Piramal in January 2020, Piramal and Slate Run resumed their cinacalcet launch and have since
 sought to recover damages against Amgen arising from the injunction. DPC ¶¶ 234, 240.
     26
        Another generic, Sun Pharmaceutical, later moved to enforce its settlement with Amgen
 and come to market, claiming that its “acceleration” clause was triggered. The district court
 (Judge Goldberg) held the “acceleration” clause was not triggered, precluding Sun’s entry. DPC
 ¶ 233.
     27
        Cipla Ltd. v. Amgen Inc., 386 F. Supp. 3d 386, 391 (D. Del. 2019), aff’d, 778 F. App’x 135
 (3d Cir. 2019).


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 in July by several additional generics. DPC ¶¶ 229-32. One more launched in October 2020.

 DPC ¶ 243. Absent the allocation agreement, the cinacalcet market could have been genericized

 with lower-cost generics within weeks of Teva’s launch, if not earlier. DPC ¶¶ 178-82.

                                 IV.     STANDARD OF REVIEW

         To survive a motion to dismiss, a complaint need only contain “enough factual matter

 (taken as true) to suggest . . . . that discovery will reveal evidence” of the conduct averred.28

 “[T]he Third Circuit has explained that antitrust complaints, in particular, should be liberally

 construed.”29 Thus, “it is inappropriate to apply Twombly’s plausibility standard with extra bite

 in antitrust and other complex cases.”30 All inferences must be resolved in the plaintiffs’ favor.31

                                         V.      ARGUMENT

         The plaintiffs plausibly allege three distinct theories of liability.

         First, Amgen orchestrated an overarching anticompetitive scheme, consisting of (a)

 inserting poison pill “acceleration” clauses into settlement agreements with Sensipar ANDA

 filers to disincentivize other generics from launching at-risk and gaining de facto exclusivity, and

 (b) inserting “grace” provisions into those agreements to enable it, in the event a subsequent

 generic did launch at-risk, Amgen could quickly allocate the market with that generic and

 thereby prevent triggering the “acceleration” provisions. And Amgen operationalized its “grace”

 period scheme by striking a quick (also grossly anticompetitive) deal with Teva, following

 Teva’s cinacalcet launch, to remove Teva from the market and maintain Amgen’s monopoly.

 This conduct violated Sherman Act § 2.


    28
        Great W. Mining & Min. Co. v. Fox Rothschild LLP, 615 F.3d 159, 177 (3d Cir. 2010)
 (citations omitted).
     29
        In re Hypodermic Prods. Antitrust Litig., No. 05-1602, 2007 WL 1959225 at *6 (D.N.J.
 June 29, 2007).
     30
        W. Penn Allegheny Health Sys. v. UPMC, 627 F.3d 85, 98 (3d Cir. 2010).
     31
        See, e.g., Connelly v. Lane Constr. Corp., 809 F.3d 780, 786 n.2 (3d Cir. 2016).


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         Second, after Teva received a non-infringement ruling and launched (becoming a

 horizontal competitor to Amgen), Amgen and Teva entered a market allocation agreement in

 violation of Sherman Act §1.

         Third, as this Court already held, in connection with the allocation agreement, Amgen

 made a large, unjustified payment to Teva in the form of Teva’s retention of hundreds of

 millions in at-risk profits and in granting Teva’s own “acceleration” clause. This, too, violated

 Sherman Act § 1.

         The complaints allege that Amgen’s overarching scheme to delay and impair
         generic competition to Sensipar violated Section 2 of the Sherman Act.

         To state a claim for monopolization under Section 2, the plaintiffs must allege “(1) the

 possession of monopoly power in the relevant market,” which Amgen does not dispute, and “(2)

 the willful acquisition or maintenance of that power as distinguished from growth or

 development as a consequence of a superior product, business acumen, or historic accident.”32

 The Third Circuit instructs that this element requires only “some anticompetitive conduct on the

 part of the possessor,” which is “generally defined as conduct to obtain or maintain monopoly

 power as a result of competition on some basis other than the merits.”33 Thus, “[c]onduct that

 impairs the opportunities of rivals and either does not further competition on the merits or does

 so in an unnecessarily restrictive way may be deemed anticompetitive.”34




    32
       United States v. Grinnell Corp., 384 U.S. 563, 570-71 (1966); see also Broadcom Corp. v.
 Qualcomm Inc., 501 F.3d 297, 306-07 (3d Cir. 2007) (quoting Grinnell).
    33
       Broadcom, 501 F.3d at 308 (citations omitted).
    34
       Id.


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         The plaintiffs plausibly allege that in attempting to maintain,35 and in actually

 maintaining, its monopoly power, Amgen engaged in a multi-faceted scheme to delay and impair

 generic Sensipar market competition.

         That scheme included the strategic settlement of patent litigation, starting with the

 weakest patent challengers, and deliberate injection into those agreements of “acceleration”

 clauses designed to deter bona fide competitors from coming to market under threat of

 immediate and overwhelming additional generic competition. DPC ¶¶ 4-7, 100-02, 143, 147-60,

 283-84, 292-93. The scheme also included Amgen’s injection of “grace” provisions into the

 dozen-plus agreements with generics, giving it the opportunity to quickly pay off any generic

 that decided to launch (with little risk given the weakness of the ’405 patent) despite the

 economic disincentives to do so created by the “acceleration” clauses. DPC ¶¶ 8-9, 147-60, 285-

 86, 294-95. The scheme reached its penultimate stage in late December 2018 when Teva—fresh

 with a judgment of non-infringement, and well aware of the terms of Amgen’s deals with other

 generics as well as Amgen’s economic interests in preserving its monopoly—dumped a huge

 volume of cinacalcet into the market at once. DPC ¶¶ 184, 187. The scheme culminated when

 Amgen and Teva, now a co-conspirator, jointly leveraged the “grace” provisions in earlier

 agreements and struck a deal that required Teva to cease its output and allocate the entire

 Sensipar market back to Amgen. DPC ¶¶ 189, 190. In exchange, Teva got to keep all but a small

 fraction of the profits from its brief launch which, despite Teva’s non-infringement judgment,

 was more than Teva ever could have earned in an undistorted market. DPC ¶¶ 190-91. The



    35
      Although the direct purchaser plaintiffs plead a claim for attempted monopolization, the
 defendants do not challenge any of the attempt elements beyond arguing that they have not
 behaved anticompetitively. The direct purchasers have adequately alleged that Amgen “has
 engaged in predatory or anticompetitive conduct with [] a specific intent to monopolize and [] a
 dangerous probability of achieving monopoly power.’” Id. at 317 (quoting Crossroads
 Cogeneration Corp. v. Orange & Rockland Utils., Inc., 159 F.3d 129, 141 (3d Cir. 1998)).


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 agreement was designed to hinder other generics’ market entry. DPC ¶¶ 202-03. And indeed,

 both Amgen and Teva made far more money under the structure of their deal the longer other

 generics stayed off the market—Teva because, if others had launched, shelf-stock adjustments

 and full-credit return provisions in Teva’s customer contracts would have eviscerated its profits

 and revenues from its abbreviated launch (which would need to be returned to customers if

 lower-priced generics launched at the end the 10-day grace period), and Amgen because

 additional generic sales would have quickly put an end to its blockbuster sales. DPC ¶¶ 107-08,

 197-200, 217, 224.

         As a result of the defendants’ anticompetitive acts, not until months after their agreement

 did other generics—mired in legal proceedings or waiting by to see the results—started trickling

 into the market in limited quantities; competition was thus impaired. DPC ¶¶ 214-220, 228-32,

 243.36 These allegations suffice.

         1.     The components of Amgen’s monopolization scheme, including the use of
                “acceleration” and “grace” provisions, must be viewed collectively.

         In assessing overarching monopolistic schemes, the Third Circuit requires that courts

 “look at ‘all the acts taken together [to determine whether they] show the willful acquisition or

 maintenance of a monopoly.’”37 This is so even absent allegations that each of the scheme’s




    36
        In re Neurontin Antitrust Litig., MDL No. 1479, 2009 WL 2751029 at *16 (D.N.J. Aug.
 27, 2009); see also DPC ¶¶ 12-13, 16-17, 153, 158, 161, 203, 248, 276, 307, 319.
     37
        In re Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust Litig., 967 F.3d 264,
 270 (3d Cir. 2020). See also LePage’s Inc. v. 3M, 324 F.3d 141, 162 (3d Cir. 2003) (“[C]ourts
 must look to the monopolist’s conduct taken as a whole rather than considering each aspect in
 isolation.”); In re Gabapentin Patent Litig., 649 F. Supp. 2d 340, 359 (D.N.J. 2009) (“If a
 plaintiff can allege that a series of actions, when viewed together, were taken in furtherance and
 as an integral part of a plan to violate the antitrust laws, that series of actions, as an overall
 scheme, may trigger antitrust liability.”); Abbott Labs. v. Teva Pharm. USA, Inc., 432 F. Supp.
 2d 408, 428 (D. Del. 2006) (Jordan, J.) (“Plaintiffs are entitled to claim that individual acts are
 antitrust violations, as well as claiming that those acts as a group have an anticompetitive effect
 even if the acts taken separately do not.”).


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 predicate actions independently violated the antitrust laws.38 But Amgen focuses its attack on the

 plaintiffs’ monopolization claims on their individual components.39

                a.      The “acceleration” clauses were central to Amgen’s anticompetitive
                        scheme because they deterred generics from coming to market.

         Amgen argues that “acceleration” clauses cannot be anticompetitive as a matter of law

 since they “allow even earlier entry than would otherwise be permitted” and “ke[ep] the settling

 generics on a relatively equal playing field.” Amgen Br. at 19-20. Even if the “acceleration”

 clauses could be treated independently, Amgen’s legal argument has been rejected by courts, the

 FTC, legal scholars, and industry professionals that know the effects of such clauses first-hand.

         Despite the moniker, “acceleration” clauses often have the opposite effect and instead

 delay generic competition. DPC ¶¶ 59-60. As the FTC has explained, “the effect of [an

 acceleration] clause [is] to make it less attractive for each successive generic company to

 continue to litigate or enter at risk because [the acceleration] clause would automatically permit

 each generic company that had settled to compete without any risk with any non-settling generic

 company.”40 Legal scholars and industry leaders echo this understanding, noting that

 “acceleration” clauses can delay generic entry and raise prices because they “reduce[] the

 incentive” of other generic manufacturers to continue challenging the patent.41

         Pharmaceutical companies understand the effects of these “acceleration” clauses

 denounce them as anticompetitive. The former Chairman and CEO of Apotex, Inc.—one of the


    38
        Abbott Labs., 432 F. Supp. 2d at 428; see also In re Neurontin Antitrust Litig., 2009 WL
 2751029 at *14-16.
     39
        See Amgen Br. at 18 (arguing “acceleration” clauses were “ordinary and routine”).
     40
        FTC v. Cephalon, Inc., No. 08-2141, ECF No. 40 at 16 (E.D. Pa. Aug. 12, 2009).
     41
        Michael A. Carrier, Payment After Actavis, 100 IOWA L. REV. 7, 38 (2014) (“[P]oison-pill
 clauses provide a type of consideration that the generic could never obtain as a result of winning
 a district court ruling that the patent is invalid or not infringed. Such provisions allow settling
 generics to enjoy exclusivity even after agreeing to late entry dates that occur long after a
 subsequent generic wins in litigation.”).


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 largest generic manufacturers in the world—testified before Congress that acceleration clauses

 represent “the primary anticompetitive aspects of settlements” because they “eliminate any

 incentive for a subsequent filer to continue to litigate for earlier market entry.”42 Although such

 clauses may appear, “[a]t first blush,” to be advantageous to purchasers by potentially expediting

 the settling generic’s entry, this benefit is illusory:

          [N]o subsequent filer is going to take up the patent fight knowing it will get
          nothing if it wins. Consumers are the biggest losers under this system. If
          subsequent filers do not have the incentive to take on the cost of multimillion
          dollar patent challenges these challenges will not occur. Weak patents that should
          be knocked out will remain in place, unduly blocking consumer access to
          generics. The challenges to brand patents by generic companies that Hatch-
          Waxman was designed to generate will decrease. And settlements that delay
          consumer access to the generic will, in turn, increase. 43

          Because of the perverse market effects of “acceleration” clauses, courts recognize that

 their use in patent infringement settlements may support claims under the Sherman Act. Staley v.

 Gilead Sciences, for example, recently held that “acceleration” clauses may give rise to claims

 under Sections 1 and 2.44 There, as here, the plaintiff alleged that Teva received an “acceleration

 clause” as part of a brand company’s payment for abandoning a patent challenge.45 And as here,

 the defendants insisted that such “acceleration” clauses are necessarily procompetitive. The court

 disagreed, explaining that “Actavis does not hold that an early entry date (relative to the patent




     42
        DPC ¶ 60. Protecting Consumer Access to Generic Drugs Act of 2009: Hearing on H.R.
 1706 Before the Subcomm. on Commerce, Trade, and Consumer Protection of the H. Comm. on
 Energy & Commerce, 111th Cong. 218 (2009) (statement of Bernard Sherman, CEO, Apotex,
 Inc.), https://archive.org/stream/gov.gpo.fdsys.CHRG-110hhrg38992.
     43
        DPC ¶ 60.
     44
        446 F. Supp. 3d 578, 609-12 (N.D. Cal. 2020).
     45
        There, Teva also received a most-favored entry plus provision, under which it was
 promised a period of exclusivity if no one launched at risk before it. Id. at 612. Notwithstanding
 this provision, which attempted to resurrect the first-to-file exclusivity that Teva had previously
 forfeited, the court nonetheless observed that even if an “acceleration” clause were the only
 anticompetitive device, it still might support the plaintiff’s antitrust claims. Id.


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 expiration date) is automatically procompetitive.”46 Rather, the court said, a settlement may be

 anticompetitive even in the absence of a reverse payment “if there were other circumstances that

 posed potential anti-competitive concern.”47 These other “indicators of anti-competitiveness”

 included the fact that—as in the first deals Amgen struck with generic Sensipar competitors—the

 licensed entry date was “close in time to the patent expiration dates (in one case only six weeks

 before the patent expiration date[)]. . . .48 Such conditions, the court observed, “give[] rise to a

 concern that Teva was induced to accept a late entry date (i.e., giving up the right to pursue its

 challenge to the patent and earlier entry) in return for a significant benefit—even if that benefit

 did not come at [the brand manufacturer’s] expense,” and it was evidence of an illegal reverse

 payment and monopolization in violation of Section 2.49

         Likewise, in Loestrin 24 Fe Antitrust Litigation, the purchaser plaintiffs alleged that an

 analogous acceleration clause “very substantially diminished, if not altogether eliminated, the

 incentive for later generic filers to enter before [the delayed entry date].”50 The Loestrin court

 found that the acceleration clause could be considered “a component in the greater calculus” of

 both the reverse payment and the overarching scheme there alleged and that plaintiffs had

 “plausibly alleged that the acceleration clause had anticompetitive effects.”51

         Amgen cites In re Actos End Payor Antitrust Litigation,52 claiming Actos holds the

 effects of the “acceleration” clauses cannot be anticompetitive as a matter of law. Amgen Br. at



    46
       Id. at 610 (emphasis in original).
    47
       Id. at 611.
    48
       Id. at 612. In this case, the entry dates given by Amgen to the first wave of settling
 generics were likewise just six weeks before patent expiry.
    49
       Id.
    50
       261 F. Supp. 3d 307, 333 (D.R.I. 2017) (quoting purchasers’ complaint).
    51
       Id. at 334.
    52
       No. 13-cv-9244, 2015 WL 5610752 at *15 (S.D.N.Y. Sept. 22, 2015), aff’d in part,
 vacated in part, 848 F.3d 89 (2d Cir. 2017).


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 19. Actos is inapposite. Unlike this case, Actos concerned settlements with several generics

 considered to be “first filers” under the Hatch-Waxman amendments and entitled jointly to 180-

 days of exclusivity.53 “[U]nder the statutory scheme, there [wa]s no plausible scenario in which

 another generic would have been entitled to earlier entry.”54 Thus in Actos, it was statutory

 hurdles—not “acceleration” clauses—that prevented generic entry. And in holding the plaintiffs

 had not plausibly alleged “that the acceleration clauses had the anticompetitive effect of

 deterring” subsequent generic filers, the court noted that “another case may present

 circumstances in which such a deterrent effect is plausible.”55 This case presents such

 circumstances. DPC ¶¶ 59-60, 102, 107, 150-51, 157, 160, 202, 206, 283-84.

         Holding that “acceleration” provisions are pro-competitive as a matter of law would “run

 counter to the Sherman Act’s preference for fact-specific inquiries, implausibly reject the

 premise that MFN clauses produce substantial anticompetitive effects in particular circumstances

 and contradict the Sherman Act’s animating concern for low consumer prices.”56 Indeed, MFNs

 employed by dominant firms are particularly suspect. 57

                b.      The “grace” provisions enabled Amgen to strike its allocation deal
                        with Teva, further delaying generic competition.

         Amgen’s attack on the “grace” provisions outside the context of its overall scheme also

 fails. Amgen makes a textual argument: the “grace” provisions, it says, live within a part of the


    53
        Id.
    54
        Id. And even though the Actos plaintiffs countered that another generic could have entered
 early by relying on a different statutory mechanism, the court explained “that avenue was
 foreclosed by [another FDA] . . . decision.” Id.
     55
        Id.
     56
        United States v. Delta Dental, 943 F. Supp. 172, 176 (D.R.I. 1996).
     57
        See Steven C. Salop & Fiona Scott Morton, Developing an Administrable MFN
 Enforcement Policy, 27 ANTITRUST 15, 18 (2013). See also United States v. Blue Cross Blue
 Shield, 809 F. Supp. 2d 665, 674 (E.D. Mich. 2011) (“[I]t is plausible that the MFNs entered into
 by Blue Cross with various hospitals in Michigan establish anticompetitive effects as to other
 health insurers and the cost of health services in those areas.”).


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 generic settlement agreements that Amgen now calls the “no-injunction clauses,” which, so the

 argument goes, only restrict Amgen from seeking preliminary injunctive relief against any

 generic that launches ahead of its entry date. Amgen Br. at 24-25.

         Yet no fewer than eight settlement agreements with generic Sensipar ANDA filers—

 including Cipla and            ,58 whose products the FDA approved in March 2018 and which

 the plaintiffs allege would have then launched absent Amgen’s scheme—contained provisions

 stating the exact opposite. In denying Amgen’s motion for a preliminary injunction against

 Cipla, this Court analyzed one such provision, § 5.6 of the Amgen-Cipla Agreement, in detail.

 That provision provides, in part, (and the emphasis is the Court’s own):

         [2] Notwithstanding anything to the contrary in this Settlement Agreement, if [i]
         any Third Party that has made an At Risk Launch of a Generic Cinacalcet Product
         (where such At Risk Launch is before or after an at risk launch by Defendants) is
         not found to have infringed one or more valid and enforceable claims of the '405
         patent or [ii] has not ceased or agreed to cease selling such Generic Cinacalcet
         Product following an At Risk Launch, then Amgen shall not be entitled to seek
         or recover any relief from Defendants for Defendants’ at risk sales, offers for
         sale, distribution, or importation of Defendants’ Product.59




    58
      See, e.g.,            Settlement, § 5.6, attached hereto as Exhibit 2. The
 agreement states that “



                      ”
    59
       Cipla Ltd. v. Amgen Inc., 386 F. Supp. 3d 386, 398 (D. Del.), aff’d, 778 F. App’x 135 (3d
 Cir. 2019) (quoting Amgen-Cipla Agreement, § 5.6).


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 The Court found that this sentence “restricts Amgen [from seeking any relief] if either condition

 [i] or [ii] is satisfied.”60 Tellingly, Amgen has never sought damages against any of the generic

 Sensipar ANDA filers that are now on the market (before their agreed entry date).61

         2.     Amgen’s scheme effectively delayed generic market entry for a year.

         Up to the point of Teva’s launch, Amgen’s alleged scheme had distorted the market and

 delayed the start of generic competition by at least ten months. After Teva launched and agreed

 with Amgen to allocate the market for Sensipar, there were additional months of delay, followed

 by impaired, piecemeal generic entry.

         Amgen disputes that its scheme had anticompetitive effects because (a) four of the

 generics “continued their Hatch-Waxman litigation against Amgen all the way through trial”;

 and (b) certain generics ultimately entered earlier than their licensed entry dates. Amgen Br. at

 19-20. These hindsight arguments are factually irrelevant and cannot defeat the plaintiffs’

 monopolization claims.

         In a healthy market, each generic firm sued for patent infringement would pursue its

 claims and defenses, or accept a settlement, based on multiple factors, including the relative




    60
        Id. In that proceeding, Amgen took the opposite position it does here: “this provision
 restricts Amgen only from seeking permanent injunctive relief . . . .” Id. at 400 (emphasis in
 original). The Court disagreed. Id.
     61
        Despite the plain language of its own settlements, Amgen argues the plaintiffs “cannot
 plead anticompetitive harm . . . by alleging that a generic ‘would have [entered] earlier than it
 actually did’ if that entry would have been ‘at risk.” Amgen Br. at 23 (citing DPC ¶ 268). Amgen
 cites In re Wellbutrin XL Antitrust Litig., 868 F.3d 132 (3d Cir. 2017) and EMC Corp. v. Zerto,
 Inc., 2014 WL 3809365 (D. Del. July 31, 2014), but neither helps. A summary judgment ruling,
 Wellbutrin has no bearing here, at the pleading stage, where the plaintiffs allege that the ’405
 patent was weak and subject to invalidity and/or non-infringement findings. 868 F.3d at 143.
 EMC involved a conclusory, one-sentence invalidity counterclaim, which the court dismissed as
 insufficient. 2014 WL 3809365 at *2. In so holding, the court observed that invalidity claims “do
 not need detailed factual allegations” but rather need just “be enough to raise a right to relief
 above the speculative level.” Id. (citations omitted). Here, we point to invalidating prior art, more
 than meeting EMC’s standard. DPC ¶¶ 128-30.


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 strength of its non-infringement and/or invalidity arguments, and the timing of its ANDA’s

 approval. DPC ¶¶ 54, 163. Because generics are seldom, if ever, equally strong across all factors,

 in a competitive market they would have different entry dates, whether negotiated or not.62

         Here, the first part of this equation held true: each generic was unique, with non-

 infringement claims of varying strengths despite the easily-designed-around ’405 patent. Yet, as

 Amgen concedes (and even touts), the terms of its settlement agreements put all settling generics

 on “equal footing” with respect to entry dates in case of at-risk launch, regardless of the merits of

 their respective positions. Amgen Br. at 3, 4. Amgen’s settlement with the generics in the

 weakest patent positions included “acceleration” clauses. This disincentivized those in stronger

 patent positions, which otherwise would be incentivized to pursue an early launch and some

 period of de facto exclusivity, from doing so because their entry would bring about that of others,

 cannibalizing profits in the process. DPC ¶¶ 5-7, 12, 101-102, 303.

         The acceleration clauses thus eliminated the stronger competitors’ incentives to enter as

 early as possible—either by launching at risk or negotiating a settlement with an earlier entry

 date. For example, even though the FDA approved Cipla’s and Aurobindo’s ANDAs in March

 2018 (DPC ¶ 178), because the weakest generics had acceleration clauses, both companies

 accepted settlements that delayed their entries. DPC ¶ 303. Those delayed entries deprived the

 plaintiffs of the benefits of a competitive cinacalcet market. DPC ¶ 270.

         It does not matter that four generics litigated their non-infringement claims through trial.

 The dispositive question is whether generics capable of earlier entry were delayed because of the



    62
        If a generic’s settlement with a brand reflects the strength of the generic’s case and entry
 position, that settlement is not anticompetitive. The Supreme Court recognized this reality in
 Actavis, explaining that not all reverse payments are unlawful: “[w]here a reverse payment
 reflects traditional settlement considerations, such as avoided litigation costs or fair value for
 services, . . . the parties may have provided for a reverse payment without having sought or
 brought about the anticompetitive consequences we mentioned above.” 570 U.S. at 156.


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 web of “acceleration” clauses and grace periods. The plaintiffs allege that they were: although

 Teva briefly entered the market, it settled with Amgen within the 10-day grace period and before

 the acceleration clauses in Amgen’s other settlements were triggered. DPC ¶¶ 198, 270, 274.

 Amgen previously argued to this Court that Teva’s short-lived launch did not trigger the

 “acceleration” clauses and that other generics were required to stay off the market.63 Amgen now

 argues that Teva’s at-risk launch enabled multi-generic entry. Amgen Br. at 17. Amgen cannot

 have it both ways.

         And while several generics entered beginning in March of 2019, the plaintiffs allege that

 Amgen’s web of “acceleration” clauses delayed those launches beginning in March 2018. DPC

 ¶¶ 178-80, 82. Amgen’s arguments do not address those allegations. Nor do they address the

 allegations that after Amgen leveraged its “grace” provisions to buy off Teva and hinder further

 generic entry, Sensipar ANDA filers were actually delayed by several more months. DPC ¶¶

 210, 219. Even when Cipla did enter, for example, it did so only in limited fashion due to

 Amgen’s conduct and the threat of liability. DPC ¶ 220. The plaintiffs adequately allege an

 overarching scheme to delay and impair generic competition, and its anticompetitive effects.

         The complaints allege that Amgen and Teva agreed to allocate the cinacalcet market
         in violation of Section 1 of the Sherman Act.

         Agreements between horizontal competitors to allocate a given market, whether by

 output restriction or by market division, violate Section 1 of the Sherman Act.64 “Conspiring to



    63
        Cipla Ltd. v. Amgen Inc., 386 F. Supp. 3d 386, 396 (D. Del.), aff’d., 778 F. App’x 135 (3d
 Cir. 2019).
     64
        See United States v. Topco Assoc., Inc., 405 U.S. 596, 608 (1972). See also N. Pac. Ry. Co.
 v. United States, 356 U.S. 1, 5 (1958) (“division of markets” unlawful) (citing Addyston Pipe &
 Steel Co. v. United States, 175 U.S. 211 (1899)); Am. Motor Inns, Inc. v. Holiday Inns, Inc., 521
 F.2d 1230, 1242 (3d Cir. 1975); Westinghouse Elec. Corp. v. Gulf Oil Corp., 588 F.2d 221, 226
 (7th Cir. 1978) (“[A]n agreement to restrict the production of uranium unquestionably is a price
 fixing arrangement . . . . In fact, all serious attempts to establish a supracompetitive price must
 necessarily include an agreement to restrict output.”).


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 reduce industry output as a means of stabilizing or raising prices is prototypical of conduct that

 has time and again been condemned by courts” as anticompetitive.65

         “The essence of a market allocation violation . . . is that competitors apportion the market

 among themselves and cease competing in another’s territory or for another’s customers.”66 The

 allegations show that Amgen and Teva did just that: as of December 28, 2018, Teva had

 launched its generic Sensipar product and was actively competing with Amgen in the market for

 cinacalcet—making Amgen and Teva horizontal competitors. DPC ¶¶ 14, 304. Amgen and Teva

 then entered into an agreement under which Teva completely restricted its output for a period of

 time (i.e., either (a) until mid-2021 or (b) until another generic came on, which would trigger

 Teva’s “acceleration” clause and its ability to resume sales). DPC ¶¶ 189-90. During its brief

 market presence, Teva enjoyed supra-competitive profits on its generic product (which competed

 only with the brand and no other generics, and thereby earning Teva far more than Teva would

 have otherwise earned). DPC ¶¶ 197-204. Teva and Amgen struck their deal in the narrow “grace

 period” window before the “acceleration” clauses of other settling generics were triggered. DPC

 ¶ 198. The fact of their hurry-up deal evinces Amgen and Teva’s intention to impede other

 generics coming to market, which the parties knew would eviscerate both Amgen’s and Teva’s

 hold on the market and their resulting ability to charge supra-competitive prices and, for Teva, to

 retain the profits from its launch.67 Under the Amgen-Teva agreement, Amgen received token




    65
        In re Sulfuric Acid Antitrust Litig., 743 F. Supp. 2d 827, 869 (N.D. Ill. 2010) (citing U.S. v.
 Socony-Vacuum Oil Co., 310 U.S. 150, 190-91(1940)) (horizontal agreement to remove surplus
 gasoline from the market, despite continuing competition among defendants, artificially raised
 prices in violation of the Sherman Act).
     66
        MidWest Underground Storage, Inc. v. Porter, 717 F.2d 493, 497 n.2 (10th Cir. 1983).
     67
        If other generics entered, Teva’s profits would shrivel due to shelf-stock adjustments and
 return provisions in Teva’s customer contracts. DPC ¶¶ 107, 199.


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 payments up to $40 million—but only if and so long as other generics stayed off the market.

 DPC ¶¶ 190, 197-99.

         The complaints, as amended, thus plausibly allege an agreement between Teva and

 Amgen to restrict Teva’s output and allocate the Sensipar market back to Amgen. DPC ¶¶ 190,

 208, 313. Thus, while the plaintiffs allege that one anticompetitive consequence of the Amgen-

 Teva agreement is the delay of other generics coming to market (discussed infra), they also

 allege that the agreement was unlawful because it eliminated competition between Amgen and

 Teva by removing Teva as a competitor.68 As such, it violated Section 1 of the Sherman Act.69

         1.     Teva entered an actual agreement to allocate the market and fully
                understood and intended the anticompetitive consequences of doing so.

         The defendants claim that the plaintiffs’ market allocation theory fails because the

 plaintiffs have not alleged that Amgen and Teva jointly planned to allocate the market before

 actually doing so. Amgen Br. at 14-15. This argument is without legal or logical foundation: in

 market allocation schemes, defendants are often competitors before reaching a deal to stop

 competing. For example, in Palmer v. BRG of Georgia, two bar review companies “had

 previously competed in the Georgia market” before they agreed to eliminate that competition.70


    68
        Amgen’s reliance on Magistrate Judge Hall’s observation that “there is no legal
 requirement that parties reach the most procompetitive settlements possible either generally or in
 the patent context” is a red herring. Amgen Br. at 16 (citing D.I. 157 at 24, quotes omitted).
 Antitrust laws and controlling precedent specifically permit plaintiffs to show that a result can be
 reached through a less restrictive alternative. See U.S. v. Brown Univ., 5 F.3d 658, 679 (3d Cir.
 1993) (“To determine if a restraint is reasonably necessary, courts must examine first whether
 the restraint furthers the legitimate objectives, and then whether comparable benefits could be
 achieved through a substantially less restrictive alternative.”) (citations omitted).
     69
        While market allocation agreements are frequently assessed under the per se standard, the
 question of which standard to apply is irrelevant to this motion as the plaintiffs have adequately
 pleaded a market allocation agreement under the rule of reason standard. At any rate, courts
 defer the decision of which standard to apply until later in the case. See In re High-Tech Emple.
 Antitrust Litig., 856 F. Supp. 2d 1103, 1122 (N.D. Cal. 2012) (decision as to which standard
 applies “is more appropriate on a motion for summary judgment”).
     70
        498 U.S. 46, 49 (1990).


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 The Supreme Court found their market division agreement violated Section 1. The same

 reasoning applies here. Amgen and Teva entered into an actual agreement that restricted Teva’s

 output entirely until mid-2021, allocating the entire U.S. cinacalcet market back to Amgen.

         But if some pre-agreement understanding need be reached, the plaintiffs allege that too.

 Amgen, having set the wheels of its monopolistic scheme in motion, was aware of the purpose

 behind its insertion of “grace” provisions as a safe harbor opportunity to make a quick deal if a

 generic did decide to launch at risk, so that the “acceleration” clauses Amgen also injected into

 its agreements would not be triggered. And Teva fully understood that other generics had

 received “acceleration” clauses as part of their settlements with Amgen. DPC ¶¶ 110, 115, 126,

 143, 185-86.71 Teva’s conscious commitment is further evidenced by the manner of its launch

 (i.e., months-worth in a single day), and its quick deal with Amgen before the “acceleration”

 clauses in those other agreements could be triggered. DPC ¶¶ 184, 198.72

         2.     The Supreme Court’s decision in Actavis does not foreclose the plaintiffs’
                market allocation theory.

         Amgen argues that “[t]he existence of a patent” distinguishes this case from other market

 allocation cases, and therefore, if any theory is to survive, it “depends upon an allegation of an

 unlawful ‘reverse payment’” under Actavis. Amgen Br. at 15, n. 10.




    71
        Publicly available analyst reports indicate, as early as April 2018, industry understanding
 that “Amgen presumably provided the settled generics with acceleration clause and they will all
 enter the market soon after the generics who wins the [infringement] case . . . .” Aaron (Ronny)
 Gal, Ph.D., Wkly Biotech/Spec Note (4/23/18): Teva departures; ALK8700 and RG7916 at AAN;
 Sensipar case workup; Akorn cross-reads, Bernstein Global Specialty Pharma & US Biotech,
 April 23, 2018 at 4, attached hereto as Exhibit 3.
     72
        Cf. In re Magnesium Oxide Antitrust Litig., No. 10-cv-5943, 2011 WL 5008090 at *12
 (D.N.J. Oct. 20, 2011) (Section 1 requires ‘“some form of concerted action’ indicating a ‘unity
 of purpose or a common design and understanding or a meeting of the minds or a conscious
 commitment to a common scheme.”’) (quoting In re Ins. Brokerage Antitrust Litig., 618 F.3d
 300, 315 (3d Cir. 2010)) (emphasis added).


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          Yet neither Actavis, nor any case since, holds that pharmaceutical companies are immune

 from scrutiny for otherwise anticompetitive agreements that do not neatly fit the reverse payment

 mold simply because a patent is involved.73 Actavis itself explicitly declined to extend its ruling

 beyond the circumstances there at issue: a particular (albeit common) situation where brand and

 generic drug manufacturers settle infringement litigation before any potentially dispositive ruling

 and before any generic market entry. In rejecting the FTC’s bid for a “quick look” approach, the

 Actavis Court explained that “[w]e do not believe that reverse payment settlements, in the

 context we here discuss, meet th[e] criterion” for presumptive unlawfulness.74 Actavis did not

 consider a market allocation agreement and did not hold that pharmaceutical manufacturers can

 only commit antitrust wrongs in the context of infringement litigation through a reverse payment.

          3.     The Amgen-Teva agreement impaired other generics’ market entry.

          The defendants also claim they cannot be held liable for the delay to other generics’ entry

 because it was those generics’ own decisions to settle with Amgen and to launch or not launch.

 Amgen Br. at 15-17. The argument finds no support in the law and defies basic principles of

 antitrust.

          That the behavior of dominant firms impacts the decisions and behavior of others in the

 market, and competition itself, and may give rise to liability, is a foundational premise of

 antitrust law. As the Third Circuit has observed, “[w]hen a monopolist’s actions are designed to




     73
        Indeed, as Magistrate Judge Hall correctly observed, “Actavis did not insulate ‘all
 schemes’ that ‘involve’ patents from per se scrutiny.” D.I. 157 at 14. While some commentators
 mused before Actavis that a rule of reason analysis should apply to all patent-related settlements
 (e.g., Herbert Hovenkamp, Sensible Antitrust Rules for Pharmaceutical Competition, 39 U.S.F.L.
 REV. 11, 22 (2004)), they did not suggest that entire theories of recovery (e.g., market allocation)
 be foreclosed and that only the particular reverse payment scenario later addressed by the
 Supreme Court in Actavis could give rise to liability under the antitrust laws where a patent is
 involved. And the Supreme Court did not so hold.
     74
        Id. at 159.


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 prevent one or more new or potential competitors from gaining a foothold in the market by

 exclusionary . . . conduct, its success in that goal is not only injurious to the potential competitor

 but also to competition in general . . . .”75 When firms harm competition, as Amgen and Teva

 have done here, they are subject to antitrust scrutiny notwithstanding some modicum of agency

 by other economic actors.

         The plaintiffs plausibly allege that Amgen’s and Teva’s output restriction and market

 allocation agreement delayed other generics’ market entry—and that both parties understood that

 to be a necessary feature of the agreement. First, both parties were aware that Amgen’s then-

 existing settlements with other generic competitors contained “acceleration” clauses that would

 be triggered if Teva remained on the market and, with that knowledge, leveraged the “grace”

 period to prevent the “acceleration” clauses from triggering.76 See supra § V.B.1. Second,

 Amgen and Teva structured the potential “payback” to Amgen to be contingent upon any launch

 by another generic manufacturer; if another generic launched within the prescribed period,

 Teva’s payback would be reduced or eliminated entirely. DPC ¶¶ 197-200, 224. Third, the longer

 other generics stayed off the market, the more money Amgen and Teva would make. DPC ¶¶

 108, 186, 197-200. Obviously, Amgen’s monopoly (and monopoly profits) would erode as

 additional generics entered the market. DPC ¶¶ 44-52. Teva also knew that other generics’

 launches would trigger shelf-stock adjustments and the full-credit return provisions in their

 customer contracts, significantly reducing Teva’s profits from its launch. DPC ¶¶ 107, 199.


    75
        LePage’s, 324 F.3d at 159 (emphasis added). See also, Fiona Scott Morton, supra note 13
 at 424-25. (“[P]rofits depend on the actions of rival firms.”).
     76
        See Keith M. Drake and Thomas G. McGuire, Generic Entry Before the Agreed-Upon
 Date in Pharmaceutical Patent Settlements, JOURNAL OF COMPETITION LAW AND ECONOMICS,
 16(2), 188, 9 (May 11, 2020) (“The presence of such [acceleration] clauses in patent settlements
 may (1) induce generics to accept later licensed entry dates in settlements and/or (2) deter other
 potential generic competitors from pursuing challenges to the brand’s patent(s). Acceleration
 clauses thus risk having exactly the opposite effect; that is, they may retard generic entry.”)


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         The Amgen-Teva agreement thus had the intended and foreseeable effect of preventing

 the other “acceleration” clauses from being triggered—which would have hastened market

 genericization. Teva got to keep its supra-competitive profits; Amgen got to keep its monopoly;

 and other prospective competitors were held at bay for months. This was a direct and clear

 anticompetitive effect of the settlement. The plaintiffs do not contend that Amgen and Teva were

 obligated to maximize competition; rather, that they cannot unreasonably restrain it.

         For its part, Teva protests that it is not illegal for a company to act in its own self-interest.

 D.I. 214 (“Teva Br.”) at 2. The plaintiffs do not dispute that Teva acted in its own financial best

 interests; companies engaging in anticompetitive acts usually do.77 But pursuing those interests

 in a way that intentionally and effectively impairs competition is unlawful (even if other

 economic actors have some agency themselves—as is also usually the case). And the timing of

 the Amgen-Teva agreement within the “grace” periods betrays an intent to keep the other

 “acceleration” clauses from being triggered. The fair inference is that Teva and Amgen acted

 specifically to forestall other generics from coming to market.78


    77
        See, e.g., Mark S. Levy, Big Pharma Monopoly: Why Consumers Keep Landing on “Park
 Place” and How the Game Is Rigged, 66 AM. U. L. REV. 247, 295 (2016) (“[F]irms irrefutably
 remain entitled to make business decisions that maximize profits. . . . [But] they are not granted
 unfettered discretion to preclude generic market entry. Firms may not avoid antitrust scrutiny by
 merely asserting that their conduct serves an economic, self-interested purpose.”).
     78
        Further undercutting the defendants’ position, courts have held that plaintiffs may recover
 damages arising from the actions of non-defendants. For example, the Seventh Circuit in U.S.
 Gypsum Co. v. Indiana Gas Co., Inc., 350 F.3d 623, 627 (7th Cir. 2003), held that a plaintiff may
 sue defendants for overcharges arising a non-conspirator’s decision to price at the cartel level:
 when a “cartel cuts output” it “elevates price throughout the market; customers of fringe firms
 (sellers that have not joined the cartel) pay this higher price and thus suffer antitrust injury, just
 like customers of the cartel members.” See also In re Lower Lake Erie Iron Ore Antitrust Litig.,
 998 F.2d 1144, 1167 (3d Cir. 1993) (upholding plaintiffs’ injury, which arose from overcharges
 paid to non-conspirators who were able to reap supra-competitive prices based on defendants’
 ability to “thwart[] the development” less expensive alternatives to loading iron ore). Thus, like
 the non-conspirator who “independently” raises prices in response to cartel pricing, the
 independent decisions of generics to delay their launch in response to the conditions Amgen and
 Teva produced through their illicit conduct can form the basis of the plaintiffs’ injuries here.


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         4.      Hindsight cannot save an anticompetitive agreement, which is to be assessed
                 at the time of, and in the context in which, it was made.

         As the Fifth Circuit reiterated just weeks ago, “it is a basic antitrust principle that the

 impact of an agreement on competition is assessed as of ‘the time it was adopted.’”79 Yet the

 defendants contend they should be immunized from liability because the agreement did not

 ultimately work to keep other generics off the market. See Amgen Br. at 16-17. So long as some

 impact is alleged, the Court may not properly consider post-agreement events in assessing

 whether an agreement was plausibly alleged to be anticompetitive. Here, the plaintiffs allege

 months more delay and impairment as to other generics following the Amgen-Teva deal.

         And there can be no credible argument that the Amgen-Teva agreement did not

 unlawfully restrain competition by eliminating Teva as a competitor and removing it from the

 market. The extent to which the defendants eliminated additional competition or otherwise

 corrupted market pricing or output is a factual question of damages, not injury.80 Hindsight

 cannot save Amgen and Teva’s naked market division deal from antitrust scrutiny.

         The complaints allege that the Amgen-Teva agreement contained an unlawful
         reverse payment in violation of Sherman Act § 1.

         Under Actavis, the splitting of monopoly profits in the Amgen-Teva agreement

 constitutes an “large and unjustified” reverse payment. The amended complaints allege the same



    79
         Impax Labs., Inc. v. Fed. Trade Comm’n, 2021 WL 1376984 at *8 (5th Cir. Apr. 13, 2021)
 (citing Polk Bros. v. Forest City Enters., 776 F.2d 185, 189 (7th Cir. 1985); see Valley Drug Co.
 v. Geneva Pharm., Inc., 344 F.3d 1294, 1306 (11th Cir. 2003) (reverse payment agreements must
 be adjudged as of the time they are entered); Apotex Inc. v. Cephalon Inc., 255 F. Supp. 3d 604,
 610 (E.D. Pa. 2017) (patent ruling occurring after the challenged reverse payment); see also In re
 Lidoderm Antitrust Litig., 14-md-02521 (N.D. Cal. Jul. 28, 2014), ECF No. 95 at 18-19 (“An
 agreement’s reasonableness must be judged as of the time it was entered into, rather than in
 hindsight after contingencies and unknowns have played out.”).
      80
         See, e.g., In re Nexium Antitrust Litig., 777 F.3d 9, 27 (1st Cir. 2015) (“Paying an
 overcharge caused by the alleged anticompetitive conduct on a single purchase suffices to
 show—as a legal and factual matter—impact or fact of damage.”) (citation omitted).




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 core reverse payment allegations that the Court already determined were plausibly pleaded.

 There is no basis to disturb that ruling.

        1.      The amended complaints neither contradict the plaintiffs’ prior pleadings
                nor upset the Court’s finding of an actionable reverse payment.

        The defendants’ efforts to manufacture “contradictions” in the plaintiffs’ amended

 complaints cannot defeat the plaintiffs’ well-pleaded allegations of a large, unjustified payment

 from Amgen to Teva in violation of Section 1 of the Sherman Act.

        Amgen and Teva argue that the plaintiffs’ “attack on Amgen’s patent” contradicts “any

 theory that Amgen’s release was disproportionally valuable compared to the up-to-$40 million

 that Teva agreed to pay for it.” Amgen Br. at 10. But there is nothing inconsistent in the

 plaintiffs’ market allocation and reverse payment allegations: they are two sides of the same

 coin, and both arise from the ’405 patent’s notable weakness. The infirmity of the ’405 patent

 (also alleged in the plaintiffs’ earlier complaints) simply demonstrates that Amgen was

 incentivized to pay Teva to leave the market, and that it had no meaningful expectation of using

 that patent to secure judicial relief against Teva. DPC ¶ 201. By allowing Teva to retain its at-

 risk launch profits and to re-enter should anyone secure a more favorable entry date, Amgen

 provided Teva a benefit that Teva could not have obtained through the patent litigation. Had

 Teva litigated and won on appeal (or remand) rather than settling, it would have (a) remained on

 the market (i.e., not exited), earning far less in profits, since the launch of other generics would

 have triggered both full-credit returns and shelf stock adjustments, as discussed above, and (b)

 not obtained the “acceleration” clause. DPC ¶¶ 199-200, 202. In light of these facts, the claim

 that Teva and Amgen received “nothing more than a compromise of the enforcement of claims

 tied to the disputed patent” strains credulity. At any rate, the plaintiffs can meet their pleading

 burden “without describing in perfect detail the world [absent the restraint],” and need not allege

 the value of Amgen’s release at this stage. The pleaded facts show that both Amgen and Teva


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 were in a better position as a result of the settlement than they would have been without it, and

 that purchasers and consumers were injured as a result. DPC ¶¶ 197-203. No more is required.

         Amgen also argues that “DPPs’ claims are self-contradictory because DPPs . . . claim that

 the original acceleration clauses were unlawful—so it is difficult to see how they can then claim

 that the alleged failure to trigger those clauses was anticompetitive.” Amgen Br. at 11. The

 plaintiffs do not claim that the “failure to trigger the acceleration clauses was anticompetitive.”

 Rather, they claim that inclusion of the “acceleration” clauses in Amgen’s various settlement

 agreements was part of Amgen’s overarching scheme to impair generic competition, maintain its

 market power, and continue its monopoly pricing. By disincentivizing would-be generic

 competitors’ launches, Amgen’s systematic insertion of those clauses into its patent settlement

 agreements impaired competition in the cinacalcet market, just as it was intended to do.

         2.     The defendants’ repackaged arguments do not defeat the plaintiffs’ well-
                pleaded allegations of an unlawful reverse payment from Amgen to Teva.

         The plaintiffs’ amended complaints, like their earlier complaints, describe “an

 unexplained large transfer of value from the patent holder to the alleged infringer[.]”81 As the

 following chart illustrates, the same core factual allegations that the Court found adequate to

 support a violation under Sherman Act §1 remain:


          Key allegations cited in the Court’s Order                      Amended Allegations
    on Defendants’ initial Motions to Dismiss, D.I. 177 at 10             DPC ¶¶           EPC ¶¶
    EPC ¶ 63 (“Teva still realized over $170 million in net                                 201;
                                                                          87, 203,
    revenues, which … is far more than it could have retained                             see also
                                                                          208, 304
    absent the unlawful agreement.”)                                                      190, 193
    EPC ¶ 68 (“[B]y entering its illicit agreement with Amgen,                         199; see also
                                                                         107-108,
    Teva ensured that the enormous profits it reaped from its one-                       182-187,
                                                                         197-208,
    week of sales would not be significantly reduced by price                           193, 203,
                                                                         304, 313
    competition from rival Sensipar generics.”)                                            208

    81
      King Drug Co. of Florence v. SmithKline Beecham Corp., 791 F.3d 388, 403 (3d Cir.
 2015).


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    DPC ¶¶ 72–78 (describing economics of generic pricing.)                36, 44-53       43, 52-58
    DPC ¶ 90 (alleging Teva agreement ensured no additional                                  35,
                                                                           198-200,
    generics would erode de facto-exclusivity pricing).                                    102-103,
                                                                           206, 285,
                                                                                           187, 199,
                                                                         294, 302, 313
                                                                                           277, 305

          Seeking to relitigate the issue, however, the defendants lob several repackaged arguments

 at the plaintiffs’ reverse payment allegations. For the same reasons previously explained82 and

 upheld by the Court, these arguments again fail.

                  a.      Amgen made a large, unjustified payment to Teva.

          The defendants contend that no large, unjustified payment to Teva was made, claiming

 that (a) “by releasing Teva’s at-risk sales and allowing accelerated entry, Amgen’s agreement to

 release Teva’s liability . . . functions like the early entry compromise explicitly blessed by

 Actavis”; (b) even if Teva’s retention of more than $350 million in revenue could be unlawful

 under Actavis, the plaintiffs have failed to allege facts suggesting that “Amgen’s release of its

 claim for at-risk damages was ‘unjustified’ in the sense that it exceeded the ‘fair value’ of what

 Amgen received in return—i.e., the up-to-$40 million payment”; and (c) the “acceleration”

 clause provided to Teva was not itself a large and unjustified payment. Amgen Br at 9-11.

          These arguments remain meritless. First, the plaintiffs allege (DPC ¶¶ 197, 204, 208)

 that, as the Court previously recognized, Teva received “a share of monopoly profits the brand

 would otherwise have earned over the few days of seeming competition, before the brand

 induced the generic to exit the market in exchange for (among other things) keeping most of the

 profits the generic earned over those few days.” D.I. 177 at 10. These retained revenues far

 exceeded what Teva would have realized had its non-infringement judgment been upheld on



    82
         The plaintiffs incorporate their prior 12(b)(6) opposition briefs. D.I. 71, 74, 76, 167, and
 168.


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 appeal. Actavis teaches that courts must closely scrutinize agreements, such as this one, that put

 the generic in a better position than it would have been in had it won the patent litigation.83 Had

 Teva’s patent victory been finally upheld, other generics would have entered, dramatically

 driving down all cinacalcet prices and triggering full-credit returns and shelf-stock adjustments

 in Teva’s customer contracts. DPC ¶¶ 197-204. Windfall settlements like this can and do give

 rise to reverse-payment claims.84

         Amgen’s payment to Teva is nothing like the hypothetical settlement “blessed” in

 Actavis, nor is it commonplace.85 In Actavis, the Supreme Court described a “commonplace”

 settlement in which “Company A sues Company B for patent infringement and demands, say,




    83
        See 570 U.S. at 152 (“In reverse payment settlements . . . a party with no claim for
 damages (something that is usually true of a paragraph IV litigation defendant) walks away with
 money simply so it will stay away from the patentee’s market. That, we think, is something quite
 different [from a traditional damages-discount settlement].”). Any factual dispute about whether
 Teva earned more by settling than it would have realized had it continued litigation cannot be
 resolved on a Rule 12(b)(6) motion. Report, D.I. 123 at 17. That Teva was able to sell months’
 worth of cinacalcet retain 90% of the supra-competitive revenues indisputably left Teva better
 off than it would have been had it sustained its non-infringement judgment on appeal. The
 settlement afforded Teva the advantages it would have gained if it had been awarded a 180-day
 exclusivity period under 21 U.S.C. § 355(j)(2) and (j)(5) as the first filing generic (it wasn’t) and
 Amgen had agreed not to launch an authorized generic during that 180-day period (it didn’t).
     84
        In re Lipitor Antitrust Litig., 868 F.3d 231, 253-54 (3d Cir. 2017) (Pfizer’s release of
 substantial damages claim arising from Ranbaxy’s at-risk launch sales for a token sum stated
 reverse payment); In re Nexium Esomeprazole Antitrust Litig., 42 F. Supp. 3d 231, 281 (D. Mass.
 2014) (“Teva and AstraZeneca’s settlement of a contingent liability . . . amounted to an illegal
 reverse payment under the Actavis standard.”).
     85
        The defendants insist that Teva’s “payment” of $40 million to Amgen (which would have
 been less had Amgen and Teva not succeeded at keeping other generics off the market) makes
 this a “commonplace” settlement not subject to antitrust scrutiny. But as this Court has already
 recognized, “the simple inclusion of ‘a token payment by the purportedly infringing generic
 manufacturer” does not “shield [patent] settlements from antitrust review.’” D.I. 177 at 9
 (quoting F.T.C. v. AbbVie Inc., 976 F.3d 327, 355 (3d Cir. 2020)). See also DPC ¶¶ 190, 197,
 199. The plaintiffs here allege that Teva made “a token payment” in exchange for retaining the
 vast majority of its launch profits—over $350 million that it could not have expected had it
 remained on the market, with or without a settlement. By agreeing to remove itself from the
 market, Teva protected those profits. This was anything but commonplace.


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 $100 million in damages.”86 According to the Court, in such circumstances, “it is not uncommon

 for B (the defendant) to pay A (the plaintiff) some amount less than the full demand as part of

 the settlement—$40 million, for example.”87 Here, while Amgen chose the same $40 million

 sum as in the Actavis hypothetical, the potential damages liability incurred by Teva is some four

 times the amount in the Actavis hypothetical.88

         Second, the defendants argue that the plaintiffs have not alleged an “unjustified” payment

 because they have not pleaded that Amgen’s release of its at-risk damages claim exceeded the

 “fair value” of the $40 million payment to Amgen. Amgen Br. at 9. This misconstrues Actavis,

 which makes clear that a “fair value” analysis is relevant only in the context of side deals to an

 alleged reverse-payment settlement, where a generic firm agrees to provide services to the brand

 company such as marketing or promotion services as part of, or to camouflage, a pay-for-delay

 deal.89 In such situations, courts may consider the “fair value” of such services to assess whether

 they might justify the payment made by the brand and thereby refute the charge of

 anticompetitive conduct.90 But “fair value” has no relevance here, where there was no such side




    86
        570 U.S. at 151-52.
    87
        Id.
     88
        Nor does Actavis condone all patent settlements that encompass a percentage of alleged
 damages. As the Third Circuit explained in In re Lipitor Antitrust Litigation, “[i]f parties could
 shield their settlements from antitrust review by simply including a token payment by the
 purportedly infringing generic manufacturer, then otherwise unlawful reverse payment
 settlement agreements attempting to eliminate the risk of competition would escape review.” 868
 F.3d 231, 258 (3d Cir. 2017). Accordingly, the Lipitor court found that a $1 million payment in
 the face of liability of “hundreds of millions of dollars,” was “paltry by comparison” and
 “therefore properly subject to antitrust scrutiny.” Id.
     89
        See Actavis, 570 U.S. at 159 (noting that justification for reverse payment may include
 “fair value for services”).
     90
        Id.; see also In re Lipitor Antitrust Litig., 868 F.3d at 256.


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 deal.91 The question is whether there was a large and unjustified payment—measured against

 saved litigation expenses only—and whether the brand paid for delay.92

         Third, contrary to the defendants’ suggestion, reverse payments must be “considered

 holistically to determine [their] alleged effects on competition.”93 This Court already rejected

 Amgen’s efforts to partition the “acceleration”/grace period provisions from Amgen’s agreement

 to Teva’s retention of revenues exceeding $350 million.94 Order at 11. Amgen’s attempts to

 revive this argument (Amgen Br. at 11) should be rejected.95

                b.      The Amgen-Teva agreement extended generic delay.

         The plaintiffs also adequately allege that the Amgen-Teva agreement extended the delay

 already achieved by Amgen’s monopolistic scheme. Its terms impaired not only Teva’s entry

 (Teva agreeing to come off the market) until mid-2021, but also impaired entry by other

 generics, which remained mired in legal proceedings for months, while others waited in the

 wings awaiting the results, before obtaining the assurance needed to launch. Even then, the next

 market entrant (Cipla) launched at reduced capacity.



    91
        Despite the defendants’ attempts to recast Teva’s $40 million payment back to Amgen,
 there is no side deal here. Teva was not obligated to perform any services to Amgen under the
 agreement. In such situations, Actavis does not countenance any assessment of “fair value.”
     92
        570 U.S. at 159 (“the likelihood of a reverse payment bringing about anticompetitive
 effects depends upon . . . its scale in relation to the payor’s anticipated future litigation costs”).
     93
        In re Loestrin 24 Fe Antitrust Litig., 433 F. Supp. 3d 274, 322 (D.R.I. 2019) (collecting
 cases). The value of saved litigation costs is a question of fact that cannot be adjudicated in this
 motion. In any event, it is difficult to imagine that the saved litigation expenses—post trial—
 could have exceeded $350 million.
     94
        And there is no question that the plaintiffs allege that the “acceleration” clause, together
 with Teva’s retained revenues, constitutes a payment that is “large and unjustified.” DPC ¶¶ 15,
 190, 197-200, 283, 292, 312, 318.
     95
        The defendants’ apparent argument that the payment was “justified” —notwithstanding
 their misapprehension of Actavis’s concept of “fair value”—should also be rejected. Amgen Br.
 at 8-9. The plaintiffs allege the payment to Teva was unjustified. DPC ¶ 312. Indeed, the
 plaintiffs have continued to allege that the value transfer from Amgen to Teva was large and
 unjustified—and thus unlawful. See, e.g., DPC ¶¶ 15, 190, 197-200, 283, 292, 312, 318.


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         The defendants argue their agreement did not cause any delay or impairment to Teva’s

 market re-entry, since Teva was sold out in early January. See Amgen Br. at 11-12; Teva Br. at

 16. But absent the agreement, Teva would have obtained or produced more cinacalcet, as any

 rational economic actor would have done. By removing Teva as a competitor until mid-2021, the

 agreement kept all Teva generic Sensipar out of the market for over two years. During that time,

 its generic could not serve as a price disciplining force on any other competitor. This impairment

 of competition, a direct result of the defendants’ agreement, is enough to state a claim.96

         The defendants also claim that other generics were not impaired by the Amgen-Teva

 agreement. Citing this Court’s preliminary injunction ruling in the Cipla action, Teva contends

 that the agreement caused no delay because “Cipla could have launched without liability the

 moment Teva launched at risk on December 28, 2018.” Teva Br. at 12. As an initial matter, it

 still took months after said launch for Cipla to obtain that ruling. And when Cipla did launch, it

 did so in very limited quantities, citing the litigation threat from Amgen. DPC ¶ 220. Regardless,

 as courts have repeatedly held, and as discussed above, reverse-payment agreements must be

 adjudged as of the time they were entered; subsequent events are not relevant.97 So the

 defendants’ insistence that other generics did eventually launch before their agreed entry dates,

 while true, is misplaced. At minimum, the plaintiffs allege that competition was impaired by the

 Amgen-Teva agreement. Discovery will show the extent of that delay.

         Finally, the defendants argue that permitting the plaintiffs’ reverse payment claims to

 move forward would distort the Hatch-Waxman Act’s incentive structure and discourage


    96
        See, e.g., W. Penn Allegheny Health Sys., Inc. v. UPMC, 627 F.3d 85, 104 (3d Cir. 2010)
 (agreement between dominant healthcare provider and insurer to protect each other from
 competition violated antitrust law by creating “suboptimal output, reduced quality, allocative
 inefficiencies, and (given the reductions in output) higher prices for consumers in the long run”).
     97
        See, e.g., Impax Labs, 2021 WL 1376984 at *8 (“[It] is the basic antitrust principle that the
 impact of an agreement on competition is assessed as of the time it was adopted.”).


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 generics from launching at risk. Amgen Br. at 14; Teva Br. at 19-20. But generics have—and

 will continue—to evaluate at-risk launch opportunities based on the strengths of their patent

 positions and the extent of their exposure if they are found to have infringed. Here, the patent

 strength was so minimal that Teva would still have been economically incentivized to launch at

 risk and continue to compete. And Teva and Amgen could still have reached a procompetitive

 agreement—one without a payment and with an earlier entry date.98

         The plaintiffs have standing to sue Teva.

         The plaintiffs have Article III and antitrust standing to sue Teva because they allege that

 they were injured by paying and reimbursing more for cinacalcet than they would have absent

 the Amgen-Teva agreement. DPC ¶¶ 13, 16-17, 158, 203, 248, 276, 307, 319; EPC ¶¶ 14, 19–21,

 281, 292. Under controlling Third Circuit law, no more is required at this stage.99

         Ignoring the Court’s determination that the plaintiffs’ allegations that Amgen secured

 Teva’s market exit “for the purpose and effect of raising and maintaining the supra-competitive

 prices Plaintiffs would have to pay for Sensipar” (D.I. 177 at 12) were sufficient, Teva claims the

 plaintiffs suffered no harm (i.e., paid no supra-competitive prices for brand or generic Sensipar)

 as a result of the Amgen-Teva agreement, and thus lack standing. Teva Br. at 14.

         This argument hinges on the question of impairment of generic entry. There was no delay

 of either the products of other generics or of the Teva product, so the argument goes, and



    98
        In support of its contention that permitting liability here would discourage future at-risk
 launches, Amgen points to recent California legislation on pharmaceutical settlements. Amgen
 Br. at 14 (citing Cal. Health & Safety Code § 134002(a)(2)(F)). But this legislation explicitly
 states that it “does not modify, impair, limit, or supersede the applicability of the antitrust laws of
 California as defined in the Cartwright Act.” Cal. Health & Safety Code § 134002(d)(1).
     99
        In re Horizon Healthcare Servs. Inc. Data Breach Litig., 846 F.3d 625, 633 (3d Cir. 2017)
 (plaintiff need only “allege[] some specific, identifiable trifle of injury”); In re Wellbutrin XL
 Antitrust Litig., 868 F.3d 132, 165 (3d Cir. 2017) (in reverse payment cases, allegations of
 “increased drug prices for [the brand] (and its generic equivalents)” suffice to plead antitrust
 standing).


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 therefore no harm. Teva Br. at 14-17. But as amended and as discussed above (see supra §§

 V.A.2; V.B.3; V.C.2.b), the plaintiffs have amply alleged that the Amgen-Teva agreement

 impaired competition.100 Indeed, while the Court held that the plaintiffs’ prior complaints did not

 adequately allege delay as to other generics, the Court nevertheless observed that “Amgen and

 Teva structured their agreement so that both make more money the longer the market remains

 free of other generic competition.”101 One way to view the Amgen-Teva agreement, the Court

 observed further, is that the two “ceased their ostensible ‘competition’ before their actions would

 harm both of them by opening the floodgates to additional generic competition.” D.I. 177 at 13.

          In any case, the plaintiffs have both Article III and antitrust standing to sue Teva, based

 on Teva’s agreement to suspend cinacalcet sales until mid-2021. The plaintiffs allege that Teva’s

 “acceleration” clauses deterred full-scale launches by other Sensipar generics. DPC ¶ 202. Teva

 contends that because it sold all its product in its days-long launch, there was no delay. Teva Br.

 at 15-16. This argument, of course, rests on the presumption that Teva (among the world’s

 largest generic drug manufacturers) would not have continued to make and sell cinacalcet absent

 its agreement with Amgen, because it had sold its “entire inventory” (thought rationally, it would

 have made more inventory if it could have sold it profitably). Teva’s arguments may not be

 credited at this stage of the proceedings, where all inferences are drawn in the plaintiffs’ favor.102


    100
         See, e.g., DPC ¶¶ 178-81, 182 (but for Amgen’s unlawful conduct, Cipla, Aurobindo,
 Strides, Piramal, and Mylan all would have launched their generic products earlier than they
 did); DPC ¶¶ 214, 217, 228-30, 232, 243 (showing dates of delayed generic launches).
     101
         Cipla Ltd. v. Amgen Inc., 386 F. Supp. 3d 386, 409 n.25 (D. Del. 2019), aff’d, 778 Fed.
 App’x 135 (3d Cir. 2019).
     102
         Teva also argues that even if it did have additional product to sell, indirect purchaser
 plaintiffs do not allege they could have purchased it given that pharmacies purportedly had a six-
 month supply of Teva generics. Teva Br. at 17. However, EPPs’ complaint alleges that Teva
 shipped a “multi-month” supply, which, while consistent with Mr. Cunard’s estimate of six-
 months’ supply, is not synonymous with it. Indeed, Teva’s own witness in the Cipla Action
 stated that the supply it sold was 3.6 months. See EPC ¶ 171 n.42. In any event, even if Teva’s



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        As a rational economic actor, Teva would not have bargained for a re-entry date and an

 “acceleration” clause had it not been prepared to make and sell additional product. As this Court

 has already observed, “[n]o one disputes that such a[n acceleration] clause had value to Teva.”

 D.I. 177 at 11.103 That could not be true if Teva had no plans to sell cinacalcet at a later date.

        The extent to which the plaintiffs’ alleged overcharges were “minimized” by the ultimate

 entry of other generic competitors, as Teva argues (Teva Br. at 18-19), is a question of damages.

 It is premature here and cannot defeat the plaintiffs’ standing.104

                                       VI.     CONCLUSION

        For these reasons, Amgen’s and Teva’s motions to dismiss should be denied. To the

 extent the Court grants any portion of the defendants’ motions to dismiss, the plaintiffs

 respectfully request leave to amend their complaints.



        Date: April 27, 2021                        Respectfully submitted,




 contention were true, the quantity Teva launched would have no bearing on antitrust injury
 because the Amgen-Teva agreement caused Teva to exit the market, and it has yet to return.
     103
         Teva argues that because the direct purchaser plaintiffs have not alleged that they made
 any purchases from Teva, they have no injury. Teva Br. at 17–18. But this is legally irrelevant.
 “The fact that a customer has not made purchases from every co-conspirator does not prevent
 him from suing all for each co-conspirator contributed to the charging of the supra-competitive
 price paid by the purchaser.” Bogosian v. Gulf Oil Co., 561 F.2d 434, 448 (3d Cir. 1977),
 abrogated on other grounds by Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007). As Teva’s
 own cited authority recognizes, “[o]ne who joins an existing conspiracy is responsible for all
 prior acts committed in furtherance of the conspiracy.” Marian Bank v. Elec. Payment Srvs. Inc.,
 No. 95-cv-614, 1997 WL 367332 at *4 (D. Del. Feb. 5, 1997). Teva’s reliance on Marian Bank
 is misplaced; in Marian Bank, the court dismissed the plaintiff’s claim because that company’s
 participation in the conspiracy post-dated the plaintiff’s existence as a going concern.
 104
     Teva also asserts, without citation, that “Plaintiffs concede that the presence or absence of
 Teva product on the market was no longer relevant” after multiple generics launched. Teva Br. at
 19. To the contrary, the complaints allege that “although other generic manufacturers have since
 launched generic versions of Sensipar, competition in the market remains impaired as a result of
 the Amgen-Teva agreement due to the fact that Teva is no longer selling generic Sensipar.” EPC
 ¶ 13; DPC ¶¶ 190, 302, 313.


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  /s/ Ian Connor Bifferato_________           /s/ Tiffany J. Cramer_________
  Ian Connor Bifferato (Del. Bar No. 3273)    Tiffany J. Cramer (Del. Bar No. 4998)
  THE BIFFERATO FIRM, P.A.                    CHIMICLES SCHWARTZ KRINER
  1007 N. Orange Street, 4th Floor            & DONALDSON-SMITH LLP
  Wilmington, DE 19801                        2711 Centerville Road Suite 201
  Tel.: (302) 225-7600                        Wilmington, DE 19808
  cbifferato@tbf.legal                        Tel: (302) 656-2500
                                              tjc@chimicles.com
  OF COUNSEL:
  Karin E. Garvey                             Liaison Counsel for the Proposed Direct
  Matthew J. Perez                            Purchaser Class
  LABATON SUCHAROW LLP
  140 Broadway                                OF COUNSEL:
  New York, NY 10005                          Thomas M. Sobol
  Tel: (212) 907-0700                         Bradley J. Vettraino
  kgarvey@labaton.com                         HAGENS BERMAN SOBOL
  mperez@labaton.com                          SHAPIRO LLP
                                              55 Cambridge Parkway, Suite 301
  Interim Lead Counsel for the Indirect       Cambridge, MA 02142
  Purchaser Class                             Tel: (617) 482-3700
                                              tom@hbsslaw.com
  Lee Albert                                  bradleyv@hbsslaw.com
  GLANCY PRONGAY & MURRAY
  LLP
  230 Park Avenue, Suite 530                  Linda P. Nussbaum
  New York, NY 10169                          Bart D. Cohen
  Tel: (212) 682-5340                         Peter Moran
  lalbert@glancylaw.com                       NUSSBAUM LAW GROUP, P.C.
                                              1211 Avenue of the Americas, 40th Fl.
  Melinda R. Coolidge                         New York, NY 10036
  HAUSFELD LLP                                Tel: (917) 438-9189
  888 16th Street, N.W.                       lnussbaum@nussbaumpc.com
  Suite 300                                   bcohen@nussbaumpc.com
  Washington, DC 20006                        pmoran@nussbaumpc.com
  Tel: (202) 540-7200
  mcoolidge@hausfeld.com                      Interim Co-Lead Counsel for the
                                              Proposed Direct Purchaser Class
  Adam J. Pessin                              and Counsel for Plaintiff César Castillo,
  FINE, KAPLAN AND BLACK, R.P.C.              LLC
  One South Broad Street, 23rd Floor
  Philadelphia, PA 19107                      Dianne M. Nast
  Tel: (215) 567-6565                         Michael Tarringer
  apessin@finekaplan.com                      NASTLAW LLC
                                              1101 Market Street, Suite 2801
  Additional Counsel for Indirect Purchaser   Philadelphia, PA 19107
  Plaintiffs                                  Tel: (215) 923-9300
                                              dnast@nastlaw.com
                                              mtarringer@nastlaw.com

                                              Mike Roberts
                                              ROBERTS LAW FIRM, P.A.
                                              20 Rahling Cir.
                                              Little Rock, AR 72223
                                              Tel: (501) 821-5575
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                                        mikeroberts@robertslawfirm.us

                                        Counsel for KPH Healthcare Services, Inc.

                                        John Radice
                                        Daniel Rubenstein
                                        Kenneth Pickle
                                        RADICE LAW FIRM, P.C.
                                        475 Wall Street
                                        Princeton, NJ 08540
                                        jradice@radicelawfirm.com
                                        drubenstein@radicelawfirm.com
                                        kpickle@radicelawfirm.com

                                        Additional Counsel for the Proposed Direct
                                        Purchaser Class
